          Case 2:19-mj-00320-LRL Document 4 Filed 06/19/19 Page 1 of 1 PageID# 6
 MISDEMEANOR MINUTES:
Time Set:        9:00                               Date:               June 19. 2019
Time Started:                                       Presiding Judge:    T.awrence R. Leonard

Time Ended:       D                                 Courtroom Deputy: L. Woodcock
 Recorded by: FTR                                   U.S. Attorney:    James Cole. SAUSA
                                                    Defense Counsel:
 Case Number:         ^      rM                    ( )Retained         ( )Court-appointed
                                                   ( ) AFPD            ( ) Waived Counsel
 USA V.                     j^A'nfS
 CODNTS: n "TVicVt-                      Go/i pw^ggrry
                 2)
                 3)
                  )
    ) (J^resent( )In custody( )No appearance( )Excused Prior to Court
         ial Appearance( )Docket Call( )Plea of Guilty( )Bench Trial( )Jury Trial
       Defendant advised of rights.
       Consent to Proceed before U.S. Magistrate Judge executed and filed in open court.
    ) Acknowledgment of Rights Form executed and filed in open court.
    ) Government motion:( )Warrant( )Summons( )Continue( )DWOP( )DWP
    ) Other                               ( )Granted ( )Denied
    ) Defendant motion:( )Continue( )Judgment of Acquittal( )Strike
    ) Other                               ( )Granted ( )Denied
    ) Counsel desired; Court( ) Directed( )Denied( )Government not seeking jail time
    ) Defendant shall reimburse govt. for court appointed counsel at rate of$ ^/mo. begin
    ) Defendant will to retain counsel.( ) Retained Counsel
  Vf Case continued to 9:00 a.m. on         I   "1 ^                AK        m:)
    ) Bond set                                                 with the following conditions of release:
  )( ) Probation Office supervision                         5)( ) Substance abuse testing and if positive
 2)( ) Shall not operate m/v after consuming                         treatment as deemed necessary by PO.
       alcohol                                              6) ( ) Mental health evaluation and treatment
 3)( ) Prohibited from operating a motor vehicle                     as deemed necessary by PO
            unless properly licensed to do so               2)( ) No use/possession of narcotic/controlled
 4)( ) No consumption( )No excessive use of                          substance unless prescribed by physician
            alcohol                                           ( )
       Proffer                                              ( ) Evidence & Witnesses presented
       Statement by Defendant                               ( ) PSR WAIVED by all parties
       Found Guilty        ( )Found Not Guilty              ( ) Continued for Pre-sentence Report
       Dismissed by Court                                   ( ) Advised of Right to Appeal
       Sentencing:
       Defendant remanded to custody
          FINE:                          ASSESSMENT;                   PROCESSING FEE:             RESTITUTION:

 1)$                              1)$.                              1)$                            1)$.
 2)$                              2)$_                              2)$                            2)$.
 3)$                              3)$_                              3)$                            3)$.
 4)$                              4)$_                              4)$                            4)$.
( ) Jail:                                ( )To be released at 5:00 p.m. today ( )As special condition of probation
( ) Probation                                             ( )Supervised Release:
( ) Driving privileges within special maritime and territorial jurisdiction ofthe United States are suspended for
 ONE(1) YEAR.
